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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

AGROMOD PRODUCE, INC.

Defendant.

LEONARDO HERNANDEZ LOPEZ §
and FRANCISCO VILLA LOPEZ §
Plaintiffs, §
§

Vv. § NO. 7:10-CV-00379
8
FRANCISCO ARVIZU and §
8
§
§

ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE

 

On this day came to be considered the Joint Motion to Dismiss with Prejudice submitted
by Plaintiffs and Defendant, and this Court being advised of the premises for same and
representations of counsel, is of the opinion that said Motion should be GRANTED.
Accordingly, it is hereby ORDERED as follows:

1. This lawsuit is hereby DISMISSED in its entirety with prejudice; and

2. Each party is to bear its/his own attorneys’ fees and costs.

DONE on this Lh th, day of 1, Me , 2011, at McAllen, Texas.

Ricardo H. Hinojosa
CHIEF U.S. DISTRICT JUD

 

 
